Case 2:22-cv-00386-SRC-JSA Document 97 Filed 06/17/22 Page 1 of 3 PageID: 57




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

LYNN HUNTLEY, individually, and on behalf          Civil No. 2:22-cv-00386 CLOSED
of all others similarly situated,
                                                   VOLUNTARY DISMISSAL ORDER
              Plaintiff,                           WITH PREJUDICE PURSUANT TO
                                                   FED. R. CIV. P. 41(a)(1)(A)(i)
       v.

SPROUT FOODS, INC.; and DOES 1
through 10, inclusive,

              Defendants.


       PLEASE TAKE NOTICE THAT the above-captioned action is voluntarily dismissed

WITH prejudice by Plaintiff Lynn Huntley pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: June 16, 2022                         LYNCH CARPENTER, LLP
                                       By: /s/ Katrina Carroll
                                           Katrina Carroll
                                           111 W. Washington St., Ste. 1240
                                           Chicago, IL 60602
                                           Tel.: 312-750-1265
                                           katrina@lcllp.com

                                             LYNCH CARPENTER, LLP
                                             Todd D. Carpenter
                                             Scott G. Braden
                                             1350 Columbia St., Ste. 603
                                             San Diego, CA 92101
                                             Tel.: 619-762-1900
                                             Fax: 619-756-6991
                                             todd@lcllp.com
                                             scott@lcllp.com

                                             LEEDS BROWN LAW, P.C.
                                             Jeffrey K. Brown
                                             Michael A. Tompkins
                                             Brett R. Cohen
                                             One Old Country Road, Suite 347
                                             Carle Place, NY 11514
                                             Tel: 516-873-9550
                                             jbrown@leedsbrownlaw.com
                                             mtompkins@leedsbrownlaw.com
                                             bcohen@leedsbrownlaw.com


                                               1
Case 2:22-cv-00386-SRC-JSA Document 97 Filed 06/17/22 Page 2 of 3 PageID: 58




                                   IZARD, KINDALL & RAABE LLP
                                   Oren Faircloth
                                   29 South Main Street, Suite 305
                                   West Hartford, CT 06107
                                   Tel: 860-493-6292
                                   Fax: 860-493-6290
                                   ofaircloth@ikrlaw.com

                                   Attorneys for Plaintiff

                                   SO ORDERED: 6/17/2022
                                   s/Stanley R. Chesler, U. S. D. J.
Case 2:22-cv-00386-SRC-JSA Document 97
                                    96 Filed 06/17/22
                                             06/16/22 Page 3 of 3 PageID: 59
                                                                          56




                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 16, 2022, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt.

Dated: June 16, 2022                            LYNCH CARPENTER, LLP

                                          By: /s/ Katrina Carroll
                                              Katrina Carroll
                                              111 W. Washington St., Ste. 1240
                                              Chicago, IL 60602
                                              Tel.: 312-750-1265
                                              katrina@lcllp.com

                                                Attorneys for Plaintiff
